         Case 2:23-cv-02347-EP-JSA Document 25 Filed 09/25/23 Page 1 of 1 PageID: 314
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of NewofJersey
                                                                    __________


         The Mendham Methodist Church, et al                   )
                             Plaintiff                         )
                                v.                             )      Case No.     2:23-cv-2347-EP-JSA
             Morris County, New Jersey, et al.                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Proposed Defendant-Intervenor New Jersey Attorney General                                                    .


Date:          09/25/2023                                                            /s/ Michael L. Zuckerman
                                                                                         Attorney’s signature


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